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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


   QORVO, INC.,                                  )
                                                 )
        Plaintiff,                               )
                                                 )
                v.                               )
                                                 )           C.A. No. 21-1417-RGA
   AKOUSTIS TECHNOLOGIES, INC. and               )
   AKOUSTIS, INC.,                               )
                                                 )
        Defendants.                              )


        MOTION AND [PROPOSED] ORDER FOR ADMISSION PRO HAC VICE

       Pursuant to Local Rule 83.5 and the attached certifications, the undersigned counsel moves

the admission pro hac vice of David A. Jakopin, Dianne L. Sweeney, and Robert M. Fuhrer of

Pillsbury Winthrop Shaw Pittman LLP, to represent Defendants Akoustis Technologies, Inc. and

Akoustis, Inc. in the above-referenced matter. Pursuant to this Court’s Revised Standing Order

for District Court Fund, effective September 1, 2016, movant states that the annual fees for pro

hac vice admission are being submitted in connection with this application.


 Date: December 15, 2021                           BAYARD, P.A.

 OF COUNSEL:                                       /s/ Ronald P. Golden III
                                                   Stephen B. Brauerman (#4952)
 David A. Jakopin                                  Ronald P. Golden III (#6254)
 Dianne L. Sweeney                                 600 N. King Street, Suite 400
 PILLSBURY WINTHROP                                Wilmington, Delaware 19801
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 Robert M. Fuhrer
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 Attorneys for Defendants Akoustis
 Technologies, Inc. and Akoustis, Inc.




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             CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

        Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of the State of Virginia,

pursuant to Local Rule 83.6, submit to the disciplinary jurisdiction of this Court for any alleged

misconduct which occurs in the preparation or course of this action. I also certify that I am

familiar with this Court’s Local Rules.

Dated: December 14, 2021

                                  ___/s/ Robert M. Fuhrer_______________
                                  Robert M. Fuhrer
                                  Pillsbury Winthrop Shaw Pittman LLP
                                  1650 Tysons Boulevard, 14th Floor
                                  McLean, VA 22102

                                  Attorney for Defendants
                                  Akoustis Technologies, Inc. and Akoustis, Inc.




{BAY:01160881v1}
                                                                                      4886-5565-3894
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             CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

        Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of the State of California,

pursuant to Local Rule 83.6, submit to the disciplinary jurisdiction of this Court for any alleged

misconduct which occurs in the preparation or course of this action. I also certify that I am

familiar with this Court’s Local Rules.

Dated: December 14, 2021

                                     /s/ Dianne L. Sweeney
                                  Dianne L. Sweeney
                                  Pillsbury Winthrop Shaw Pittman LLP
                                  2550 Hanover Street
                                  Palo Alto, CA 94304

                                  Attorney for Defendants
                                  Akoustis Technologies, Inc. and Akoustis, Inc.




{BAY:01160881v1}
                                                                                      4877-4798-0294
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             CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

        Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

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pursuant to Local Rule 83.6, submit to the disciplinary jurisdiction of this Court for any alleged

misconduct which occurs in the preparation or course of this action. I also certify that I am

familiar with this Court’s Local Rules.

Dated: December 14, 2021

                                      /s/ David A. Jakopin
                                  David A. Jakopin
                                  Pillsbury Winthrop Shaw Pittman LLP
                                  2550 Hanover Street
                                  Palo Alto, CA 94304

                                  Attorney for Defendants
                                  Akoustis Technologies, Inc. and Akoustis, Inc.




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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

                                               )
   QORVO, INC.,                                )
                                               )
        Plaintiff,                             )
                                               )
                v.                             )
                                               )         C.A. No. 21-1417-RGA
   AKOUSTIS TECHNOLOGIES, INC. and             )
   AKOUSTIS, INC.,                             )
                                               )
        Defendants.                            )


                                   PROPOSED ORDER

       IT IS HEREBY ORDERED this _____ day of December, 2021, that the foregoing

application of David A. Jakopin, Dianne L. Sweeney, and Robert M. Fuhrer for admission to

practice in this action pro hac vice is GRANTED.




                                    __________________________________
                                    UNITED STATES DISTRICT JUDGE




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